838 F.2d 1209Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Walter Henry Joseph GRIFFIN, Petitioner-Appellant,v.Edward W. MURRAY, Director, Virginia Department ofCorrections, Respondent-Appellee.
    No. 87-7767.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Dec. 30, 1987.Decided:  Feb. 5, 1988.
    
      Before DONALD RUSSELL and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      Walter Henry Joseph Griffin, appellant pro se.
      Robert Quentin Harris, Office of Attorney General, for appellee.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 is without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Griffin v. Murray, C/A No. 87-253-N (E.D.Va. Nov. 9, 1987).
    
    DISMISSED
    